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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

                Plaintiff,
                                                                 Case No. 25-cv-11472
       v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

                Defendants.


                     [PROPOSED] ORDER GRANTING PLAINTIFF’S
                      MOTION FOR A PRELIMINARY INJUNCTION

       The Court hereby grants Plaintiff’s Motion and enters a preliminary injunction order

pursuant to Fed. R. Civ. P. 65(a) against Defendants United States Department of Homeland

Security, Kristi Noem, United States Immigration and Customs Enforcement, Todd Lyons,

Student and Exchange Visitor Program, John Doe, James Hicks, United States Department of

Justice, Pamela Bondi, United States Department of State, and Marco Rubio (collectively,

“Defendants”). Defendants, their agents, and anyone acting in concert or participation with

Defendants are hereby:

       A. Enjoined from implementing, instituting, maintaining, or giving any force or effect to

            the May 22, 2025 revocation of Plaintiff’s Student and Exchange Visitor Program

            (“SEVP”) certification, including but not limited to through: the termination of

            Plaintiff’s SEVIS access; any determination that a visa holder has failed to maintain

            nonimmigrant status on the basis of the revocation of Plaintiff’s SEVP certification;

            any adverse action or determination with respect to a visa application on the basis of


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   the revocation of Plaintiff’s SEVP certification; or any denial of admission to the

   United States on the basis of the revocation of Plaintiff’s SEVP certification.

B. Enjoined from implementing, instituting, maintaining, or giving any force or effect to

   any purported revocation of Plaintiff’s Exchange Visitor Program designation in the

   May 22, 2025 Revocation Notice, including but not limited to through: the termination

   of Plaintiff’s SEVIS access; any determination that a visa holder has failed to maintain

   nonimmigrant status on the basis of any purported revocation of Plaintiff’s Exchange

   Visitor Program designation; any adverse action or determination with respect to a visa

   application on the basis of any purported revocation of Plaintiff’s Exchange Visitor

   Program designation; or any denial of admission to the United States on the basis of

   any purported revocation of Plaintiff’s Exchange Visitor Program designation.

C. Enjoined from giving any force or effect to the Department of Homeland Security’s

   May 22, 2025 Revocation Notice, including but not limited to through: the termination

   of Harvard’s SEVIS access; any determination that a visa holder has failed to maintain

   nonimmigrant status on the basis of the Revocation Notice; any adverse action or

   determination with respect to a visa application or visa holder on the basis of the

   Revocation Notice; or any denial of admission to the United States on the basis of the

   Revocation Notice.

D. Directed to immediately prepare guidance to Defendants’ officers, staff, employees,

   and contractors—including but not limited to those at each consulate, embassy, field

   office, and port of entry—to disregard the May 22, 2025 Revocation Notice and to

   restore every visa holder and applicant to the position that individual would have been




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   in absent such Revocation Notice. Defendants’ guidance must be issued within 72 hours

   of entry of this Order.

E. Ordered to take, in good faith, such other steps as are necessary to prevent the

   implementation of or the giving of any force or effect to the May 22, 2025 Revocation

   Notice during the effective period of this Order.

F. Precluded from giving effect to any suspension, withdrawal, revocation, termination,

   or other alteration of Plaintiff’s SEVP certification or Exchange Visitor Program

   designation or any other departure from the status quo by means of a categorical

   restriction of Plaintiff’s authority to sponsor non-immigrant F visas or J visas, other

   than through the procedures laid out in 8 C.F.R. §§ 214.3 and 214.4, including as

   executed by issuance of the May 28, 2025 Notice of Intent to Withdraw (“NOIW”), or

   in 22 C.F.R. Part 62. Any suspension, withdrawal, revocation, termination, or other

   alteration of Plaintiff’s SEVP certification or Exchange Visitor Program designation

   through the procedures laid out in 8 C.F.R. §§ 214.3 and 214.4, including as executed

   by issuance of the May 28, 2025 NOIW, shall be stayed for 30 days to permit the parties

   to seek injunctive relief as appropriate from the Court.

G. Defendants are not precluded by this Order from reviewing Plaintiff’s compliance with

   the regulations in 22 C.F.R Part 62 as a designated sponsor in the Exchange Visitor

   Program or from issuing routine requests for information and documents from Plaintiff

   in order to assist in the regulatory compliance review. Nothing in this Order is intended

   to prevent Plaintiff from challenging the scope or validity of such actions on any

   grounds.




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        H. Ordered to file a status report within 72 hours of entry of this Order describing the steps

            taken to ensure compliance with this Order – including providing a copy of the

            guidance described in Section D above – and certifying compliance with its

            requirements.




It is so ordered.


                                                              District Judge




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